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              AFFIDAVIT IN SUPPORT OF APPLICATION FOR A
                          CRIMINAL COMPLAINT

     I, Lisa A. Crandall, being first duly sworn, hereby depose

and state that the following is true to the best of my

information knowledge and belief:


                  INTRODUCTION AND AGENT BACKGROUND

     1.   I am a Special Agent of the Federal Bureau of

Investigation (FBI), United States Department of Justice, since

June, 2010.   I am currently assigned to the Lakeville Resident

Agency within the Boston Division.      My responsibilities include

the investigation of various criminal offenses, including

investigation of crimes involving the sexual exploitation of

children utilizing computer communications.

     2.   This affidavit is submitted in support of a criminal

complaint charging Sean J. Trahan (“Trahan”), DOB xx/xx/1977, of

Seekonk, Massachusetts, with possession of child pornography in

violation of 18 U.S.C. § 2252A(a)(5)(B).

     3.   The statements contained in this affidavit are based

in part on information provided by FBI Special Agents; written

reports about this and other investigations that I have

received, directly or indirectly, from other law enforcement

agents, information gathered from the service of administrative

subpoenas; the results of physical and electronic surveillance

conducted by law enforcement agents; independent investigation
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and analysis by FBI agents/analysts and computer forensic

professionals; and my experience, training and background as a

Special Agent with the FBI.      Because this affidavit is submitted

for the limited purpose of establishing probable cause to secure

a criminal complaint and arrest warrant.         In submitting this

affidavit, I gave not included each and every fact known to me

concerning this investigation.      Where statements of other are

set forth in this affidavit, they are set forth in substance and

part.

        4.    On October 5, 2015, United States Magistrate Donald L.

Cabell issued a search warrant for Trahan’s residence in

Seekonk, Massachusetts, [15-MJ-1102-DLC].         The search warrant

was obtained based on information that led investigators to

believe that someone at that address using the screen name

“Kelly33” had accessed files from a website known to contain

child pornography.      Specifically, on February 21, 2015,

“Kelly33” accessed a file in the “Girls HC Forum.” The file

contained a link to two files one of which consisted of 16

images that depicted a prepubescent female, approximately four

to six years old sitting naked on the floor and the erect

genitalia of an adult male touching the prepubescent female’s

vagina.

        5.   On October 7, 2015, the Federal Bureau of Investigation

and the Seekonk Police Department executed the federal search
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warrant at the Seekonk address.     Upon entering the address, the

agents encountered and identified three individuals: Sean

Trahan; his father Normand Trahan; and his mother Victoria

Trahan.    Agents interviewed all three.     Sean Trahan stated that

he utilized the name “Kelly33” to access a website, known to law

enforcement as containing child pornography.         Sean Trahan

identified a Compaq desk top computer in his bedroom that he

used to access the website (the “Compaq computer”).           Sean Trahan

stated that he viewed images of child pornography, but did not

download the images.    Sean Trahan confirmed that he that he had

been previously convicted for possessing child pornography.

     6.     Normand Trahan and Victoria Trahan stated that the

family owned only one computer, that the computer belonged to

their son, Sean Trahan, and that the computer was in Sean’s

bedroom.

     7.     A preliminary forensic review of the computer showed

that the Compaq computer contained the following images:

           Image 1: 00de6db5-ce69-410a-a4b5-8d86687decdc.png

           Image 2: 086104a4-2ede-433f-a976-3eb06e3dea4e9.png

           Image 3: 7e03bb46-2cdf-4114-afc8-d15edc6ad52d.png

     8. Image 1: depicts a minor female, approximately 7 to 9

years old with pony tails wearing no pants.         The minor female is

performing oral sex on an adult male.       A pink piece of paper
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with the words “I (symbol of a heart) cum” is located to the

left of the minor female.

     9. Image 2: depicts a minor female, approximately 7 to 9

years old, with pony tails, wearing no pants and touching her

genitalia with her right hand.     A pink piece of paper with the

words “I (symbol of a heart) cum” is located to the left of the

minor female.

     10. Image 3: depicts a minor female approximately 6 to 8

years old.   The minor female is not wearing any pants and has

her legs spread exposing her genitalia.

     11. I have reviewed the three pngs described above and

based on my training and experience believe the three images are

child pornography.

                              CONCLUSION

     12. Based on the foregoing, there is probable cause to

believe that on October 7, 2015, Sean J. Trahan possessed child

pornography, in violation of 18 U.S.C. §        2252A(a)(5)(B).



                                 _____________________________
                                 Special Agent LISA A. CRANDALL
                                 Federal Bureau of Investigation

Sworn and subscribed to before me this 7th day of October, 2015



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HONORABLE DONALD L. CABELL
United States Magistrate Judge
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